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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

JESSE RIOS,                                §
                                           §
       Plaintiff,                          §
                                           §
v.                                         §
                                           §      CIVIL ACTION NO. 5:21-cv-590
HARTFORD LIFE AND ACCIDENT                 §
INSURANCE COMPANY,                         §
                                           §
       Defendant.                          §


                          PLAINTIFF’S ORIGINAL COMPLAINT

                               PRELIMINARY STATEMENT

       Plaintiff JESSE RIOS, hereinafter referred to as “Plaintiff,” brings

       1.      This ERISA action against Hartford Life and Accident Insurance Company,

in its capacity as Administrator of the Sysco Corporation Long Term Disability Plan,

hereinafter referred to as “Defendant”. Plaintiff brings this action to secure all disability

benefits, whether they be described as short term, long term and/or waiver of premium

claims to which Plaintiff is entitled under a disability insurance policy underwritten and

administered by Defendant.        Plaintiff is covered under the policy by virtue of his

employment with Sysco Corporation.

                                               PARTIES

       2.      Plaintiff is a citizen and resident of San Antonio, Texas.

       3.      Defendant is a properly organized business entity doing business in the

State of Texas.

       4.      The disability plan at issue in the case at bar was funded and
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administered by Defendant.

       5.     Defendant is a business entity doing business in the Western District of

Texas. Defendant may be served with process by serving its registered agent, C T

Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3140.

                               JURISDICTION AND VENUE

       6.     This court has jurisdiction to hear this claim pursuant to 28 U.S.C. ' 1331,

in that the claim arises under the laws of the United States of America. Specifically,

Plaintiff brings this action to enforce his rights under section 502(a)(1)(B) of the

Employee Retirement Income Security Act, (ERISA), which provides "[a] civil action may

be brought . . . (1) by a participant or by a beneficiary . . . (B) to recover benefits due to

him under the terms of his plan, to enforce his rights under the terms of the plan, or to

clarify his rights to future benefits under the terms of the plan."            29 U.S.C. §

1132(a)(1)(B).

       7.     Venue in the Western District of Texas is proper by virtue of Defendant

doing business in the Western District of Texas.       Under the ERISA statute, venue is

proper "in the district where the plan is administered, where the breach took place, or

where a defendant resides or may be found."           29 U.S.C. § 1132(e)(2). Therefore,

venue may also be proper under the third prong of ERISA's venue provision, specifically

“where a defendant resides or may be found." (Id.) “District courts within the Fifth

Circuit have adopted the reasoning outlined by the Ninth Circuit in Varsic v. United

States District Court for the Central District of California, 607 F.2d 245 (9th Cir. 1979).

See Sanders v. State Street Bank and Trust Company, 813 F. Supp. 529, 533 (S.D.



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Tex. 1993). The Ninth Circuit, in Varsic, concluded that whether a defendant "resides or

may be found" in a jurisdiction, for ERISA venue purposes, is coextensive with whether

a court possesses personal jurisdiction over the defendant. Varsic, 607 F.2d at 248.”

See Frost v. ReliOn, Inc., 2007 U.S. Dist. LEXIS 17646, 5-6 (N.D. Tex. Mar. 2, 2007).

Under ERISA's nationwide service of process provision, a district court may exercise

personal jurisdiction over the defendant if it determines that the defendant has sufficient

ties to the United States. See Bellaire General Hospital v. Blue Cross Blue Shield of

Michigan, 97 F.3d 822, 825-26 (5th Cir. 1996), citing Busch v. Buchman, Buchman &

O'Brien, Law Firm, 11 F.3d 1255, 1258 (5th Cir. 1994). Here, Defendant is “found”

within the Western District of Texas, as it does business here, and the court has

personal jurisdiction over Defendant, as it has sufficient ties to the United States.

                  CONTRACTUAL AND FIDUCIARY RELATIONSHIP

       8.     Plaintiff has been a covered beneficiary under a group disability benefits

policy issued by Defendant at all times relevant to this action. Said policy became

effective January 1, 2017.

       9.     The disability policy at issue was obtained by Plaintiff by virtue of Plaintiff’s

employment with Sysco Corporation at the time of Plaintiff’s onset of disability.

       10.    Under the terms of the policy, Defendant administered the Plan and

retained the sole authority to grant or deny benefits to applicants.

       11.    Defendant funds the Plan benefits.

       12.    Because the Defendant both funds the Plan benefits and retains the sole

authority to grant or deny benefits, Defendant has an inherent conflict of interest.



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       13.     Because of the conflict of interest described above, this Court should

consider Defendant’s decision to deny disability benefits as an important factor during

its review.

       14.     Except as stated in paragraph 15 below, benefit denials governed under

ERISA are generally reviewed by the courts under a de novo standard of review.

Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101 (1989).

       15.     In order for the Plan Administrator’s decisions to be reviewed by this Court

under an “arbitrary and capricious” standard and not a de novo standard, the Plan must

properly give the Plan Administrator “discretion” to make said decisions within the plain

language in the Plan.

       16.     In Texas, for disability insurance policies, certificates or riders offered,

issued, renewed or delivered on or after February 1, 2011 said “discretionary clauses”

are prohibited under 1701.062(a) Texas Insurance Code.

       17.     Further, for disability insurance policies issued prior to February 1, 2011

that do not contain a renewal date, said discretionary clause prohibition applies after

June 1, 2011 upon any rate increase or any change, modification or amendments on or

after June 1, 2011.

       18.     Plaintiff contends that the Plan fails to give the Defendant said discretion

as said discretionary language is prohibited under 1701.062(a) Texas Insurance Code.

       19.     Pursuant to Ariana M. v. Humana Health Plan of Texas, 884 F.3d. 246,

249 (5th Cir. 2018), (overruling Pierre v. Conn. Gen. Life Ins. Co., F2d. 1562 (5th Cir.

1991), the 5th Circuit has recently held that absent a valid grant of discretion, both the



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“interpretation of plan language” and “factual determinations” are to be reviewed by the

court under a de novo standard. Therefore, pursuant to Ariana, the court should review

this matter de novo.

       20.    ERISA does not preempt state bans on discretionary clauses because of

the “savings clause.” ERISA preempts “any and all State laws insofar as they … relate

to any employee benefit plan.” The “savings clause,” however, preserves “any law …

which regulates insurance…”. To fall within the savings clause, a state law must: Be

“specifically directed toward entities engaged in insurance” and “substantially affect the

risk pooling arrangement between the insurer and the insured.” Kentucky Association

of Health Plans, Inc. v. Miller, 538 U.S. 329, 342 (2003).

       21.    Defendant has a fiduciary obligation to administer the Plan fairly and to

furnish disability benefits according to the terms of the Plan.

                               ADMINISTRATIVE APPEAL

       22.    Plaintiff is a 59 year old man previously employed by Sysco Corporation

as a “Route Driver - Heavy.”

       23.    Route Driver - Heavy is classified under the Dictionary of Occupational

Titles as Medium with an SVP of 4 and considered to be semi-skilled work.

       24.    Due to Plaintiff’s disabling conditions, Plaintiff ceased actively working on

March 7, 2020, as on this date Plaintiff suffered from an acute myocardial infarction.

       25.    Plaintiff alleges that he became disabled on March 12, 2020.

       26.    Plaintiff filed for short term disability benefits with Defendant.

       27.    Short term disability benefits were initially granted but subsequently cut



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       off.

       28.     Plaintiff filed for long term disability benefits through the Plan administered

by the Defendant.

       29.     On October 30, 2020, Defendant denied long term disability benefits under

the Plan. Said letter allowed Plaintiff 180 days to appeal this decision.

       30.     At the time Defendant denied Plaintiff long term disability benefits, the

disability standard in effect pursuant to the Plan was that Plaintiff must be considered

unable to perform his “Own Occupation.”

       31.     If granted the Plan would pay monthly benefits of $4,108.78.

       32.     On November 6, 2020, Plaintiff pursued his administrative remedies set

forth in the Plan by requesting administrative review of the denial of benefits.

       33.     Plaintiff timely perfected his administrative appeal pursuant to the Plan by

sending letter requesting same to the Defendant.

       34.     Plaintiff submitted additional information including medical records to show

that he is totally disabled from the performance of both his own and any other

occupation as defined by the Plan.

       35.     On or about September 18, 2020, Defendant’s paid consultant, Darius J.

Marhamti, M.D., cardiovascular disease, performed a peer review of Plaintiff’s claim file.

       36.     There is an indication that a “Susan Lewis-Matt, RN,” clinical case

manager, reviewed Plaintiff’s claim file, but Defendant failed to provide Plaintiff with said

review.

       37.     There is an indication that a “Charmain Milazzo, RN,” medical case



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manager, reviewed Plaintiff’s claim file, but Defendant failed to provide Plaintiff with said

review.

        38.    There is an indication that a “Deeann M. Morgen, RN” reviewed Plaintiff’s

claim file, but Defendant failed to provide Plaintiff with said review.

        39.    There is an indication that a “Janet C. Osen, RN” reviewed Plaintiff’s claim

file, but Defendant failed to provide Plaintiff with said review.

        40.    Defendant’s consultants completed their reports without examining

Plaintiff.

        41.    On January 4, 2021, Defendant notified Plaintiff that Defendant affirmed

its original decision to deny Plaintiff’s claim for long term disability benefits.

        42.    Defendant also notified Plaintiff on January 4, 2021 that Plaintiff had

exhausted his administrative remedies.

        43.    Defendant, in its final denial, discounted the opinions of Plaintiff’s treating

physicians, among others, and the documented limitations from which Plaintiff suffers

including the effects of Plaintiff’s impairments on his/her ability to engage in work

activities.

        44.    Plaintiff has now exhausted his administrative remedies, and his claim is

ripe for judicial review pursuant to 29 U.S.C. § 1132.

                                      MEDICAL FACTS

        45.    Plaintiff suffers from multiple medical conditions resulting in both

exertional and nonexertional impairments.

        46.    Plaintiff suffers from a heart attack with blood clots lodged near the heart,



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requiring a defibrillator in the heart.

       47.     Treating physicians document continued chronic pain, as well as

decreased range of motion and weakness.

       48.     Plaintiff’s multiple disorders have resulted in restrictions in activity, have

severely limited Plaintiff’s range of motion, and have significantly curtailed his ability to

engage in any form of exertional activity.

       49.     Further, Plaintiff’s physical impairments have resulted in chronic pain and

discomfort.

       50.     Plaintiff’s treating physicians document these symptoms. Plaintiff does

not assert that he suffers from said symptoms based solely on his own subjective

allegations.

       51.     Physicians have prescribed Plaintiff with multiple medications, including

narcotic pain relievers, in an effort to address his multiple symptoms.

       52.     However, Plaintiff continues to suffer from breakthrough pain, discomfort,

and limitations in functioning, as documented throughout the administrative record.

       53.     Plaintiff’s documented pain is so severe that it impairs his ability to

maintain the pace, persistence and concentration required to maintain competitive

employment on a full-time basis, meaning an 8-hour day, day after day, week after

week, month after month.

       54.     Plaintiff’s medications cause additional side effects in the form of sedation

and cognitive difficulties.

       55.     The aforementioned impairments and their symptoms preclude Plaintiff’s



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performance of any work activities on a consistent basis.

       56.    As such, Plaintiff has been and remains disabled per the terms of the Plan

and has sought disability benefits pursuant to said Plan.

       57.    However, after exhausting his administrative remedies, Defendant persists

in denying Plaintiff his rightfully owed disability benefits.

                        DEFENDANT’S CONFLICT OF INTEREST

       58.    At all relevant times, Defendant has been operating under an inherent and

structural conflict of interest as Defendant is liable for benefit payments due to Plaintiff

and each payment depletes Defendant’s assets.

       59.    Defendant’s determination was influenced by its conflict of interest.

       60.    Defendant has failed to take active steps to reduce potential bias and to

promote accuracy of its benefits determinations.

       61.    The long term disability Plan gave Defendant the right to have Plaintiff

submit to a physical examination at the appeal level.

       62.    A physical examination, with a full file review, provides an evaluator with

more information than a medical file review alone.

       63.    More information promotes accurate claims assessment.

       64.    Despite having the right to a physical examination, Defendant did not ask

Plaintiff to submit to one.

                                          COUNT I:
        WRONGFUL DENIAL OF BENEFITS UNDER ERISA, 29 U.S.C. § 1132

       65.    Plaintiff incorporates those allegations contained in paragraphs 1 through

64 as though set forth at length herein

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      66.     Defendant has wrongfully denied disability benefits to Plaintiff in violation

of Plan provisions and ERISA for the following reasons:

              a.     Plaintiff is totally disabled, in that he cannot perform the material

              duties of his own occupation, and he cannot perform the material duties of

              any other occupation which his medical condition, education, training, or

              experience would reasonably allow;

              b.     Defendant failed to afford proper weight to the evidence in the

              administrative record showing that Plaintiff is totally disabled;

              c.     Defendant’s interpretation of the definition of disability contained in

              the policy is contrary to the plain language of the policy, as it is

              unreasonable, arbitrary, and capricious; and

              d.     Defendant has violated its contractual obligation to furnish disability

              benefits to Plaintiff.

                               COUNT II: ATTORNEY FEES AND COSTS

      67.     Plaintiff repeats and realleges the allegations of paragraphs 1 through 66

above.

      68.     By reason of the Defendant’s failure to pay Plaintiff benefits as due under

the terms of the Plan, Plaintiff has been forced to retain attorneys to recover such

benefits, for which Plaintiff has and will continue to incur attorney’s fees. Plaintiff is

entitled to recover reasonable attorney’s fees and costs of this action, pursuant to

Section 502(g)(1) of ERISA, 29 U.S.C. §1132(g)(1).

            WHEREFORE, Plaintiff demands judgment for the following:



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       A.     Grant Plaintiff declaratory relief, finding that he is entitled to all past due

short term and long term disability benefits yet unpaid;

       B.     Order Defendant to pay past short term and long term disability benefits

retroactive to July 26, 2020 to the present in the monthly amount specified in the Plan

and subject to such offsets as are permitted in the Plan, plus pre-judgment interest;

       C.     Order Defendant to remand claim for future administrative review and

continue to make future long term disability benefits in the monthly amount specified in

the Plan and subject to such offsets as are permitted in the Plan until such time as

Defendant makes an adverse determination of long-term disability consistent with

ERISA and Plaintiff’s entitlements under the Plan;

       D.     Order Defendant to pay for the costs of this action and Plaintiff’s attorney’s

fees, pursuant to Section 502(g) of ERISA, 29 U.S.C. § 1132(g); and

       E.     For such other relief as may be deemed just and proper by the Court.


Dated: Houston, Texas
       June 21, 2021
                                          Respectfully submitted,

                                          MARC WHITEHEAD & ASSOCIATES,
                                          ATTORNEYS AT LAW L.L.P.


                                          By:    __/s/ J. Anthony Vessel________
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